Case 1:18-cv-00950-PTG-JFA Document 142-14 Filed 05/10/19 Page 1 of 1 PageID# 3440




                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,
                                                          Case No. 1:18-cv-00950-LO-JFA
v.

COX COMMUNICATIONS, INC., et al.,

         Defendants.


     ORDER GRANTING DEFENDANT’S MOTION FOR LEAVE TO TAKE ADDITIONAL
                        THIRD-PARTY DEPOSITIONS

                       UPON CONSIDERATION of Defendants Cox Communications, Inc.’s and

     CoxCom, LLC’s (collectively, “Cox”) Motion for Leave to Take Additional Third-Party

     Depositions and the related filings, the Court is of the opinion that the Motion should be, and it

     hereby is, GRANTED. The Court hereby orders that Defendants are granted leave to conduct

     three additional non-party, non-expert, depositions in this case.

                                      ENTERED this ____ day of May 2019.

     Alexandria, Virginia

                                                   ____________________________________
                                                   John F. Anderson
                                                   United States Magistrate Judge
